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                EXHIBIT A
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      Adam B. Lederman, Esq. - 015072008
      DAVIS, SAPERSTEIN & SALOMON, P.C.
      375 Cedar Lane
      Teaneck, New Jersey 07666-3433
      (201) 907-5000
      Fax: (201) 692-0444
      Attorneys for Plaintiff(s),

                                                         SUPERIOR COURT OF NEW JERSEY
      Venesha McClaire,                                  LAW DIVISION: MORRIS COUNTY

                         Plaintiff( s),                  DOCKET NO: MRS-L-
      - vs -

      Costco Wholesale Corporation, DDR Southeast                       Civil Action
      East Hanover, L.L.C. a/k/a Inland Southeast
      East Hanover, L.L.C., Site Centers Corp., John
      Does 1-10 (fictitious names representing
      unknown individuals) and/or XYZ Corps. 1-10        COMPLAINT AND JURY DEMAND
      (fictitious names representing unknown
      corporations, partnerships and/or Limited
      Liability Companies or other types of legal
      entities)

                        Defendant s .


               PlaintiffVenesha McClaire residing in the County of Essex, 602 Sanford Avenue,

      Newark, New Jersey, 07106, by way of Complaint against the Defendants says:




                                                                    DAVIS, SAPERSTEIN & SALOMON, P.C.
                                                 -1-                375 Cedar Lane
                                                                    Teaneck, New Jersey 07666-3433
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                                              FIRST COUNT

               1.    On or about September 18, 2020, the PlaintiffVenesha McClaire was a business

      invitee lawfully upon the premises owned, operated, leased, controlled, supervised, managed

      and/or maintained and/or repaired and/or inspected by the Defendants Costco Wholesale

      Corporation, DDR Southeast East Hanover, L.L.C. a/k/a Inland Southeast East Hanover, L.L.C.

      (hereinafter referred to as "Inland Southeast East Hanover, L.L.C."), Site Centers Corp., John

      Does 1-10 and/or XYZ Corps. 1-10 located at or near 156 Route 10, in the Township of East

      Hanover, County of Morris, and the State of New Jersey.

               2.   Upon information and belief, at all relevant times herein mentioned, the Defendant

      Costco Wholesale Corporation was a foreign profit corporation authorized to do business in the

      State of New Jersey, with its main business address located at 999 Lake Drive, Issaquah,

      Washington, 98027.

               3.   Upon information and belief, at all relevant times herein mentioned, the Defendant

      Inland Southeast East Hanover, L.L.C. was a foreign limited liability company authorized to do

      business in the State of New Jersey, with its main business address located at 3300 Enterprise

      Parkway, Beachwood, Ohio, 44122.

               4.   Upon information and belief, at all relevant times herein mentioned, the Defendant

      Site Centers Corp. was a foreign profit corporation authorized to do business in the State of New

      Jersey, with its main business address located at 3300 Enterprise Parkway, Beachwood, Ohio,

      44122.

               5.   At the aforesaid time and place, due to the careless, reckless and negligent

      ownership, operation, lease, control, supervision, management and/or maintenance and/or repair

      and/or inspection of the premises by the Defendants Costco Wholesale Corporation, Inland
                                                                     DAVIS, SAPERSTEIN & SALOMON, P.C.
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                                                                     Teaneck, New Jersey 07666-3433
                                                                     (201) 907-5000
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      Southeast East Hanover, L.L.C., Site Centers Corp., John Does 1-10 and/or XYZ Corps. 1-10,

      the PlaintiffVenesha McClaire was caused to slip and fall, thereby causing the Plaintiff Venesha

      McClaire to sustain severe personal injuries.

                6.     As a direct and proximate result of the aforesaid carelessness, recklessness, and

      negligence of the Defendants Costco Wholesale Corporation, Inland Southeast East Hanover,

      L.L.C., Site Centers Corp., John Does 1-10 and/or XYZ Corps. 1-10, the PlaintiffVenesha

      McClaire was injured in and about her mind and body; was and will in the future be caused great

      pain and suffering to her mind and body; was and will in the future be obliged to expend great

       sums of money for medical aid and attention; has sustained economic loss; and was and will in

      the future be unable to attend to her usual pursuits and occupations and was further damaged.

                WHEREFORE, the Plaintiff Venesha McClaire demands judgment against the

      Defendants Costco Wholesale Corporation, Inland Southeast East Hanover, L.L.C., Site Centers

      Corp., John Does 1-10 and/or XYZ Corps. 1-10, individually,jointly or severally, for damages

      together with interest and costs of suit.

                                                  SECOND COUNT

                1.     Plaintiff Venesha McClaire repeats each and every allegation of the First Count o

      the Complaint as if set forth at length herein verbatim.

                2.     At the aforesaid time and place, the Defendants Costco Wholesale Corporation,

      Inland Southeast East Hanover, L.L.C., Site Centers Corp., John Does 1-10 and/or XYZ Corps.

         1-10 were independent contractors responsible for the upkeep and/or maintenance and/or repairs

      and/or inspection of the aforementioned premises.

                3.     As a direct and proximate result of the careless, reckless, and negligent upkeep

      and/or maintenance and/or repair and/or inspection of the premises by the Defendants Costco
                                                                        DAVIS, SAPERSTEIN & SALOMON, P.C.
                                                     -3-                375 Cedar Lane
                                                                        Teaneck, New Jersey 07666-3433
                                                                        (201) 907-5000
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       Wholesale Corporation, Inland Southeast East Hanover, L.L.C., Site Centers Corp., John Does 1-

       10 and/or XYZ Corps. 1-10, the PlaintiffVenesha McClaire was caused to slip and fall, thereby

       causing the Plaintiff Venesha McClaire to sustain severe personal injuries.

              4.      As a direct and proximate result of the aforesaid carelessness, recklessness and

       negligence of the Defendants Costco Wholesale Corporation, Inland Southeast East Hanover,

       L.L.C., Site Centers Corp., John Does 1-10 and/or XYZ Corps. 1-10, the PlaintiffVenesha

       McClaire was injured in and about her mind and body; was and will in the future be caused great

       pain and suffering to her mind and body; was and will in the future be obliged to expend great

       sums of money for medical aid and attention; has sustained economic loss; and was and will in

       the future be unable to attend to her usual pursuits and occupations and was further damaged.

               WHEREFORE, the Plaintiff Venesha McClaire demands judgment against the

       Defendants Costco Wholesale Corporation, Inland Southeast East Hanover, L.L.C., Site Centers

       Corp., John Does 1-10 and/or XYZ Corps. 1-10, individually, jointly or severally, for damages

       together with interest and costs of suit.

                                                   THIRD COUNT

               1.     PlaintiffVenesha McClaire repeats each and every allegation of the First and

       Second Counts of the Complaint as if set forth at length herein verbatim.

              2.      At the aforesaid time and place, the Defendants John Does 1-10 was an unknown

       person or persons whose actions caused and/or contributed, directly or indirectly, to the incident

       herein and the injuries and damages suffered by the PlaintiffVenesha McClaire.

               3.     At the aforesaid time and place, the Defendants XYZ Corps. 1-10 was an

       unknown business, corporation and/or entity, whose agents, servant and/or employee's actions


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       caused and/or contributed, directly or indirectly, to the incident herein and the injuries and

       damages suffered by the Plaintiff Venesha McClaire.

              4.      As a direct and proximate result of the aforesaid carelessness, recklessness and

       negligence of the Defendants John Does 1-10 and/or XYZ Corps. 1-10, the PlaintiffVenesha

       McClaire was injured in and about her mind and body; was and will in the future be caused great

       pain and suffering to her mind and body; was and will in the future be obliged to expend great

       sums of money for medical aid and attention; has sustained economic loss; and was and will in

       the future be unable to attend to her usual pursuits and occupations and was further damaged.

              WHEREFORE, the Plaintiff Venesha McClaire demands judgment against the

       Defendants John Does 1-10 and/or XYZ Corps. 1-10 individually, jointly or severally, for

       damages together with interest and costs of suit.

                                                     DAVIS, SAPERSTEIN & SALOMON, P.C.
                                                     Attorneys for Plaintiff(s)


       Dated: May 21, 2021
                                                      BY:    Adam B. Lederman, Esq.
                                                             For the Firm


                                                WRYDEMAND

              Plaintiff hereby demands a trial by jury on all triable issues raised in the various Counts

       of the Complaint.




                                                                         DAVIS, SAPERSTEIN & SALOMON, P.C.
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                                    DESIGNATION OF TRIAL COUNSEL

              Plaintiff hereby designates Adam B. Lederman, Esq. as trial counsel in this matter.

                                                     DAVIS, SAPERSTEIN & SALOMON, P.C.
                                                     Attorneys for Plaintiff(s)


       Dated: May 21, 2021
                                                      BY:    Adam B. Lederman, Esq.
                                                             For the Firm

                           DEMAND FOR ANSWERS TO INTERROGATORIES

              Pursuant to Rule 4:17-l(B)(l), et seq., Plaintiff hereby demands that Defendant answer

       Form "C" Uniform Set oflnterrogatories of Appendix II, and supplemental Form "C2", within

       the time prescribed by the Rules of Court.

              Plaintiff reserves the right to propound additional supplemental Interrogatories pursuant

       to the Rules of Court.

                                               CERTIFICATION

               I certify, pursuant to R.4:5-1, that to the best of my knowledge, information and belief at

       this time, the matter in controversy is not the subject matter of any other action pending in any

       other court, nor of any pending arbitration proceeding; that no other action or arbitration is

       contemplated; and that there are no other parties who should be joined in this action.

                                                     DAVIS, SAPERSTEIN & SALOMON, P.C.
                                                     Attorneys for Plaintiff(s)

                                                     4--k :B. ~
       Dated: May 21, 2021
                                                      BY:    Adam B. Lederman, Esq.
                                                             For the Firm




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                        Civil Case Information Statement
, Case Details: MORRIS I Civil Part Docket# L-001127-21

Case Caption: MCCLAIRE VENESHA VS COSTCO                          Case Type: PERSONAL INJURY
WHOLESALE COR PORATIO                                             Document Type: Complaint with Jury Demand
Case Initiation Date: 05/21/2021                                  Jury Demand: YES - 6 JURORS
Attorney Name: ADAM B LEDERMAN                                    Is this a professional malpractice case? NO
Firm Name: DAVIS SAPERSTEIN & SALOMON PC                          Related cases pending: NO
Address: 375 CEDAR LN                                             If yes, list docket numbers:
TEANECK NJ 07666                                                  Do you anticipate adding any parties (arising out of same
Phone:2019075000                                                  transaction or occurrence)? NO
Name of Party: PLAINTIFF : McClaire, Venesha
Name of Defendant's Primary Insurance Company                     Are sexual abuse claims alleged by: Venesha McClaire? NO

(if known): SELF INSURED



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO

 If yes, is that relationship:

 Does the statute governing this case provide for payment of fees by the losing party? NO

 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-?(b)

 0512112021                                                                                         Isl ADAM B LEDERMAN
 Dated                                                                                                             Signed
